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  7   Attorneys for Plaintiff
      ELIE SAKAYAN
  8

  9                        THE UNITED STATES DISTRICT COURT
 10                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 11

 12    ELIE SAKAYAN, an individual,                 Case No. 2:22-cv-06618-MWF-SK
 13                 Plaintiff,
                                                    STIPULATED REQUEST TO
 14           v.                                    EXTEND SCHEDULING
                                                    DEADLINES
 15    HARRY ZABILOV, an individual,
       ENZOLYTICS, INC., a Delaware
 16    corporation; IMMUNOTECH
       LABORATORIES, INC., a Nevada
 17    Corporation, and DOES 1 – 50,
 18                 Defendants.
 19

 20

 21         The Parties hereby stipulate and respectfully request that the Court extend
 22   certain scheduling deadlines, as set forth more fully below.
 23                                        RECITALS
 24         1.     On September 15, 2022, the case was removed from the Los Angeles
 25   Superior Court to this Court. Dkt. 1.
 26         2.     On September 30, 2022, Defendants filed a Motion to Dismiss the
 27   Complaint. Dkt. 10.
 28

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          STIPULATED REQUEST TO EXTEND DEADLINES – 2:22-CV-106618-MWF-SK
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  1         3.     On November 28, 2022, the Court issued an Order re Defendants’
  2   Motion to Dismiss which granted Defendants’ motion in part and denied
  3   Defendants’ motion in part. Dkt. 19.
  4         4.     On December 19, 2022, Plaintiff filed a First Amended Complaint.
  5   Dkt. 20.
  6         5.     On January 6, 2023, the Parties filed a Stipulation to extend the time in
  7   which Defendants had to answer the First Amended Complaint. Dkt. 22.
  8         6.     On January 9, 2023, the Court issued an Order granting the
  9   Stipulation. Dkt. 23.
 10         7.     On January 10, 2023, Defendant answered the First Amended
 11   Complaint.
 12         8.     On March 3, 2023, the Court issued an Order re Jury Trial, which
 13   included certain scheduling deadlines. Dkt. 28.
 14         9.     The Parties are now and have been engaged in discovery.
 15         10.    The Parties respectfully request that the Court extend certain
 16   scheduling deadlines set forth in its Order re Jury Trial.
 17         11.    The requested extensions will not delay the timely resolution of this
 18   case, which is currently set for trial on June 11, 2024.
 19         12.    There have been no prior requests for extensions of any scheduling
 20   deadlines, other than a short 11-day extension of time for Defendants to answer the
 21   First Amended Complaint.
 22                                      STIPULATION
 23         The Parties hereby stipulate and respectfully request that the Court extend
 24   certain scheduling deadlines, as set forth in the table below.
 25
                         Matter                       Current          Proposed New
 26                                                   Deadline           Deadline
 27
         Non-expert Discovery Cut-off                02/02/2024         02/23/2024
 28

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          STIPULATED REQUEST TO EXTEND DEADLINES – 2:22-CV-106618-MWF-SK
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  1      Expert Disclosure (Initial)               12/29/2023      01/12/2024
  2      Expert Disclosure (Rebuttal)]             01/26/2024      02/16/2024
  3      Expert Discovery Cut-off                  03/01/2024      03/08/2024
  4      Last Day to Hear Motions                  03/04/2024      04/05/2024
  5      Last Day to Conduct ADR                   03/22/2024      04/15/2024
  6      File Memorandum of Contentions of         04/29/2024      No change
  7      Fact and Law, Exhibits and Witness
  8      Lists, Status Report re Settlement,
  9      and Motions in Limine
 10      Lodge Pretrial Conference Order,          05/06/2024      No change
 11      File Jury Instructions and Verdict
 12      Forms, File Statement re Disputed
 13      Instructions and Verdict Forms, and
 14      File Oppositions
 15      Final Pretrial Conference and             05/20/2024      No change
 16      Hearing re Motions in Limine
 17
         Trial Date                                06/11/2024      No change
 18

 19
      Dated: December 22, 2023           DAVID H. PIERCE & ASSOCIATES PC
 20

 21                                      /s/ Larry Liu
                                         David Pierce
 22                                      Larry Liu
                                         Shih-Chieh Wang
 23
                                         Attorneys for Plaintiff
 24                                      ELIE SAKAYAN
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          STIPULATED REQUEST TO EXTEND DEADLINES – 2:22-CV-106618-MWF-SK
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  1   Dated: December 22, 2023        GARIBIAN LAW OFFICES, PC
  2
                                      /s/ Antranig Garibian
  3                                   Antranig Garibian
  4                                   Attorneys for Defendants
                                      HARRY ZHABILOV, ENZOLYTICS, INC., and
  5                                   IMMUNOTECH LABORATORIES, INC.
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          STIPULATED REQUEST TO EXTEND DEADLINES – 2:22-CV-106618-MWF-SK
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  1
                                        ATTESTATION
  2
            Pursuant to Local Civil Rule L.R. 5-4.3.4, I attest that all other signatories
  3
      listed, and on whose behalf the filing is submitted, concur in this document’s
  4
      content and have authorized the filing of this document.
  5

  6   Dated: December 22, 2023            DAVID H. PIERCE & ASSOCIATES PC
  7
                                          /s/ Larry Liu
  8                                       David Pierce
                                          Larry Liu
  9                                       Shih-Chieh Wang
 10                                       Attorneys for Plaintiff
                                          ELIE SAKAYAN
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          STIPULATED REQUEST TO EXTEND DEADLINES – 2:22-CV-106618-MWF-SK
